                  UNITED STATES DISTRICT COURT FOR THE
                     EASTERN DISTRICT OF TENNESSEE
                          AT GREENEVILLE

UNITED STATES OF AMERICA                      )
                                              )
v.                                            )            NO. 2:04-CR-73
                                              )
DIANE MEADOWS and                             )
ROBERT BELFIELD                               )

                                       ORDER


             It has come to the attention of the Court that due to a clerical error in the

judgments for each of these defendants, the box indicating that liability for restitution

is joint and several was left unchecked. In an effort to clarify this matter to assist the

office of the United States District Clerk in its accounting for monies received for the

payment of restitution, is hereby ORDERED, pursuant to Rule 36 of the Federal Rules

of Criminal Procedure, that the judgments in this cause in regard to the defendants are

AMENDED as follows:

      1. Under the heading "Schedule of Payments," at page 6 of the judgment the box

next to “joint and several” is amended to reflect a check mark.

      2. All other aspects of the judgment will remain the same.

                   ENTER:

                                                      s/J. RONNIE GREER
                                                  UNITED STATES DISTRICT JUDGE




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